 

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF OHIO =

 

 

 

EASTERN DIVISION
UNITED STATES OF AMERICA, ) INDICTMENT
)
Plaintiff, ) 2
) ®
v. -  ) CASENO.
) Title 18, United States Code,
KENNETH L. MCKINLEY III, ) Sections 922(g)(9), (0), 924(a)(2)
) and 924(d)(1); Title 26, United
Defendant. ) States Code, Sections 5841,
5861(d), and 5871
COUNT 1

(Illegal Possession of Machine Guns, 18 U. S.C. §§ 922(0) and 924(a)(2))

The Grand Jury charges: ju F GE a E ARS 9 a

1. On or about March 12, 2019, in the Northern District of Ohio, Eastern Division,

 

Defendant KENNETH L. MCKINLEY UI did knowingly possess two machineguns, those being,
a black Glock-type, select-fire conversion device, with no serial number or manufacturer
markings, and a silver Glock-type, select-fire conversion device, with no serial number or
manufacturer markings, both and each designed and intended solely and exclusively, for use in
converting a weapon into a machinegun, in violation of Title 18, United States Code, Sections
922(0) and 924(a)(2). | |

COUNT 2
(Possession of Ammunition by a Prohibited Person, 18 U.S.C. §§ 922(g)(9) and 924(a)(2))

The Grand Jury further charges:
2. On or about March 12, 2019, in the Northern District of Ohio, Eastern Division,
Defendant KENNETH L. MCKINLEY II possessed ammunition, to wit: fifty rounds of

Winchester brand, .22 caliber ammunition, having been previously convicted of a misdemeanor
crime of domestic violence, that being: Domestic Violence, on or about November 30, 2017, in
‘case number 2017-CR-B-001550, in Wayne County Municipal Court, and did so knowingly, said .
ammunition having been shipped and transported in interstate commerce, in violation of Title 18,
United States Code, Sections 922(g)(9) and 924(a)(2).

COUNT 3 .
(Receipt and Possession of Unregistered Firearms, 26 U.S.C. §§ 5841, 5861(d), and 5871)

The Grand Jury further charges:

3. On or about March 12, 2019, in the Northern District of Ohio, Eastern Division,
Defendant KENNETH L. MCKINLEY III knowingly received and possessed two firearms,
those being, a black Glock-type, select-fire conversion device, with no serial number or
manufacturer markings, and a silver Glock-type, select-fire conversion device, with no serial
number or manufacturer markings, both and each designed and intended solely and exclusively,
for use in converting a weapon into a machinegun, not registered to him in the National Firearms
Registration and Transfer Record, in violation of Title 26, United States Code, Sections 5841,

5861(d), and 5871.

A TRUE BILL.

Original document - Signatures on file with the Clerk of Courts, pursuant to the E-Government
Act of 2002.
